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                                                             4/1/2015
              Restaurant




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                                                                          47,983.69
                                                                          76,256.74
                                                                           76,256.74




                                                                           88036.62
                                                                           82,031.03
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             96,123.38             88,036.62             8086.76
             84,651.00             82,031.03             2,619.97
             11,472.38              6005.59              5466.79

                                                                            96123.38
                                                                            84651
                                                                            11472.38
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Accrual Basis                                        Profit & Loss
                                               January through February 2015

                                                            Jan 15      Feb 15       TOTAL
   Ordinary Income/Expense
          Income
              Gift Card                                       392.38      345.83       738.21
              Sales
                     Splickit - Online Sales                  707.68     1,022.55     1,730.23
                     Food Sales                             90,318.18   82,565.04   172,883.22
                     Beer/Wine Sales                          286.00      321.75       607.75
                     Catering                                4,537.22    3,781.45     8,318.67
              Total Sales                                   95,849.08   87,690.79   183,539.87


          Total Income                                      96,241.46   88,036.62   184,278.08


          Cost of Goods Sold
              Cost of Goods Sold
                     Taxes                                     40.15       79.17       119.32
                     Dessert                                  298.08      397.44       695.52
                     Delivery Fee                             180.00         0.00      180.00
                     Catering                                 371.66      557.46       929.12
                     Food Cost
                         Produce                             8,575.48    5,498.92    14,074.40
                         Spices                               279.62      226.08       505.70
                         Grocery                             5,341.17    7,347.25    12,688.42
                         Meat                               10,680.86   11,280.36    21,961.22
                         Dairy                               6,235.55    5,579.83    11,815.38
                     Total Food Cost                        31,112.68   29,932.44    61,045.12


                     Beverage Cost
                         Alcohol Cost                         178.38      237.84       416.22
                         Beverage Cost - Other               2,610.88    2,522.73     5,133.61
                     Total Beverage Cost                     2,789.26    2,760.57     5,549.83


                     Paper & Packaging Cost                  3,398.04    3,794.41     7,192.45
                     Cash Over/Short                             9.85        0.90        10.75
              Total Cost of Goods Sold                      38,199.72   37,522.39    75,722.11


          Total COGS                                        38,199.72   37,522.39    75,722.11


      Gross Profit                                          58,041.74   50,514.23   108,555.97


          Expense
              Labor Cost - Direct
                     Cash Bonus                               280.00      280.00       560.00
                     Hourly Wages                           15,964.55   18,312.50    34,277.05
                     Managers' Salary                        2,503.89    4,751.37     7,255.26
              Total Labor Cost - Direct                     18,748.44   23,343.87    42,092.31


              Marketing Expense
                     Atlanta Marketing Co-op                 1,154.92    1,328.72     2,483.64
                     National Marketing Co-op                1,539.90    1,771.62     3,311.52
                     Marketing Expense - Other                   0.00     700.00       700.00




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Accrual Basis                                     Profit & Loss
                                            January through February 2015

                                                         Jan 15      Feb 15     TOTAL
             Total Marketing Expense                      2,694.82   3,800.34    6,495.16


             Occupancy Expense
                 Storage                                      0.00    600.00      600.00
                 Cleaning                                     0.00     20.96       20.96
                 Insurance                                2,245.15   1,416.45    3,661.60
                 Music & TV                               1,536.29    191.55     1,727.84
                 Maintenance
                      Repairs                              136.56      18.17      154.73
                      Knife Sharpening                      30.00      15.00       45.00
                      Restroom Cleaning & Supplies         593.28     458.85     1,052.13
                      Co2 Rental                           112.00     101.30      213.30
                      Pest Control                            0.00    108.44      108.44
                      Window Cleaning                         0.00     25.00       25.00
                      Maintenance - Other                     0.00     15.00       15.00
                 Total Maintenance                         871.84     741.76     1,613.60


                 Property taxes                            413.12     413.12      826.24
                 Rent
                      CAM Cost                             282.90     -435.52     -152.62
                      Rent - Other                        4,580.62   4,580.62    9,161.24
                 Total Rent                               4,863.52   4,145.10    9,008.62


                 Utilities
                      Water & Sewer                           0.00    619.20      619.20
                      Telephone                            246.67     237.01      483.68
                      Electric                            1,315.86      0.00     1,315.86
                      Waste                                468.69     545.56     1,014.25
                      Gas                                  500.76     441.32      942.08
                 Total Utilities                          2,531.98   1,843.09    4,375.07


             Total Occupancy Expense                     12,461.90   9,372.03   21,833.93


             Overhead Expenses
                 Franchise royalties (5%)                 3,849.75   4,429.07    8,278.82
                 Equipment & Supplies                      700.00      29.11      729.11
                 Laundry Cost                              345.72     454.62      800.34
                 Bank Service Charges
                      Credit card service chg.            1,929.86   1,956.21    3,886.07
                      Bank Service Charges - Other          64.66      54.51      119.17
                 Total Bank Service Charges               1,994.52   2,010.72    4,005.24


                 Contributions                                0.00     25.13       25.13
                 Licenses & Permits
                      Use Tax                                 0.13      0.00         0.13
                 Total Licenses & Permits                     0.13      0.00         0.13


                 Office Supplies                           403.77     147.85      551.62
                 Professional Fees
                      Payroll Expenses                     145.90     145.90      291.80




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Accrual Basis                                       Profit & Loss
                                              January through February 2015

                                                           Jan 15      Feb 15      TOTAL
                         Accounting                          750.00      750.00     1,500.00
                    Total Professional Fees                  895.90      895.90     1,791.80


                Total Overhead Expenses                     8,189.79    7,992.40   16,182.19


             Total Expense                                 42,094.95   44,508.64   86,603.59


   Net Ordinary Income                                     15,946.79    6,005.59   21,952.38


   Other Income/Expense
       Other Income
             Vendors Compensation                            108.68      105.65      214.33
       Total Other Income                                    108.68      105.65      214.33


       Other Expense
             Other Expenses                                 5,008.00        0.00    5,008.00
       Total Other Expense                                  5,008.00        0.00    5,008.00


   Net Other Income                                        -4,899.32     105.65    -4,793.67


Net Income                                                 11,047.47    6,111.24   17,158.71




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                                        Certificate of Service

       This is to certify that I have this day filed a true and correct copy of the within and foregoing
with the Clerk of Court using the CM/ECF system which will automatically send e-mail notification
of such filing to the following:

                                     Office of the U.S. Trustee
                              362 Richard B. Russell Federal Building
                                       75 Spring Street, SW
                                      Atlanta, Georgia 30303

       This 10th day of April, 2015.

                                               /s/ Will B. Geer
                                               Will B. Geer
                                               Georgia State Bar No. 940493
                                               Attorney for Debtors
                                               333 Sandy Springs Circle, NE
                                               Suite 225
                                               Atlanta, Georgia 30328
                                               T: 678-587-8740
                                               F: 404-287-2767
                                               willgeer@willgeerlaw.com
